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                 IN THE UNITED STATES DISTRICT COURT
                 FOR THE MIDDLE DISTRICT OF GEORGIA
                           ATHENS DIVISION

OGLETHORPE POWER CORPORATION         *
and FACTORY MUTUAL INSURANCE
COMPANY,                             *

      Plaintiffs,                    *

vs.                                  *        CASE NO. 3:18-CV-72 (CDL)

ETHOSENERGY POWER PLANT              *
SERVICES LLC,
                                     *
      Defendant.
                                     *

                                O R D E R

      The Court held a telephone hearing on April 28, 2020.              The

Court made the following rulings.        Please see the transcript for

more information about the rulings.

  1. Defendant’s Motion for Sanctions          Based   on   Spoliation    of
     Evidence (ECF No. 56) is DENIED.

  2. Plaintiffs’ Motion to Exclude Certain Expert Testimony and
     Evidence (ECF No. 53) is GRANTED IN PART AND DENIED IN
     PART:

          i. Plaintiffs’ motion to exclude non-retained expert
             testimony is DENIED as to Chris Angelidis, Charles
             Kaslow, and Paul DiCristoforo. The motion is
             likewise denied as to Ravindra Annigeri and Steven
             McArthur, except they shall not be permitted to
             testify as to cause of turbine failure.

         ii. Plaintiffs’ motion to exclude non-retained expert
             testimony is GRANTED as to Brady Kirkwood, Russell
             Hallowell,   and   Massimo   Valsania.    Defendant
             represented that they would not testify at trial as
             experts. These witnesses shall not be permitted to
             give expert testimony on causation.
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    iii. Within fourteen days of the hearing, Defendant shall
         supplement its interrogatory response regarding Burl
         Haney.   Plaintiff shall be permitted to depose Mr.
         Haney.

     iv. Plaintiffs’ motion to exclude certain testimony of
         Dr. Henry Bernstein is DENIED, except Defendant
         shall make Dr. Bernstein available for a reopened
         deposition on the narrow issue of the second round
         of Joliet testing.

      v. Plaintiffs’ motion to            exclude    the     January   2020
         “Ping” data is DENIED.

3. Defendant’s Motion to Exclude the               Expert    Testimony     of
   Huawei Shi (ECF No. 55) is DENIED.

4. Defendant’s Motion to Exclude the Expert Testimony of Mark
   Tanner (ECF No. 57) is DENIED, except that Mr. Tanner shall
   not be permitted to testify as to ultimate root cause.

5. Defendant’s Motion to Exclude the Expert Testimony of Leon
   Diehl (ECF No. 58) is GRANTED IN PART AND DENIED IN PART.
   Mr. Diehl shall not be permitted to offer opinion testimony
   on improper staking. Mr. Diehl shall be permitted to offer
   testimony on the reasonable cost of repair as a non-
   retained expert.

6. Defendant’s Motion to Exclude the Expert Testimony of John
   R. Hess (ECF No. 59) is DENIED, except Mr. Hess shall not
   be permitted to interpret the contract.

7. Plaintiffs’ Motion to Compel (ECF No. 52) is DEFERRED, and
   the lawyers were directed to attempt to work out a
   solution.

8. Defendant’s Motion to Compel (ECF No. 62) is DENIED IN PART
   and DEFERRED IN PART.

    a. Plaintiff’s operator logbooks and manuals – DEFERRED.
       The lawyers were directed to attempt to work out a
       solution.

    b. Additional     documents       pertaining    to      Leon   Diehl    –
       DENIED.

    c. Documents pertaining to Paul Tucker – MOOT.

    d. Answers to Interrogatories 10-14 – DENIED.


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       e. Redaction of documents – DEFERRED.    The lawyers were
          directed to attempt to work out a solution.

     The Court will issue a written order on Defendant’s summary

judgment motion(ECF No. 56).

     IT IS SO ORDERED, this 29th day of April, 2020.

                                        S/Clay D. Land
                                        CLAY D. LAND
                                        CHIEF U.S. DISTRICT COURT JUDGE
                                        MIDDLE DISTRICT OF GEORGIA




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